WT oes Ns DISTRICT COURT

NORTHERN -DISTRICT - OF -NEW -YORK

Michael anderson Ralentine
Plaintiff,

a FIRST AMENDED COMPLAINT

Nick Anzalone, Patrick Fountain, Mr, Fawn, CLOCK
Mr. Rennett, J. Deusler, F. Revneldsth,
Mr. Fenton, and Mr. Stockton,

Tn Their Individual Capacities,
Nefendants, JURY DEMAND = YRS

John M.D Jom as eo :
Civil Actior #9:22-CV-01383 (LEK/CFH)

Saar,

T. Complairt
1. Plaintiff, Michael Ralentine, Pro Se, for his first amended complaint states as follows:
TI. Parties, Jurisdiction, and venve

2. T am the Plaintiff, Michael Ralentine, and T was confined at the Marcy Correctional Facility
<(NeR"), a medium security state nrison located at 9000 01d River Road in the City of Marcy and
Matate of New York. from January, 29021, until May, 2021, T am nresently incarcerated at Collins cF
Located at P.O. Box 340, Collins, New York, 14034-0340, Throughout this Comolaint and sithseauent
naners, IT will refer to myself in the first nerson instead of using the word "Plaintiff" for the
sake of simplicity.

3. T am, and was at all relevant times herein an adult citizen of the tinited States and of New
work State

4. Nefendants Nick Anzalone, Fenton, and Stockton were at all relevant times herein Correctional
officers at Marcy CF, Anzalone was a rover officer. Fenton was a housina unit officer assiqned to
F2. Stockton was a housina unit officer assianed to Dl.

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. Defendants Bennett and Fountain were at all relevant times herein Correctional Housina tUnit
Sergeants at Marcy CF. No housing unit movement hetween dorms or cell blocks at Marcy CF could
occur without the direct knowledaqe and exvressed consent of one or both of these individuals,
Aside fxom overniaht hours hetween llom and 6am, one or both of them was on duty at all times,

5, Nefendants Rrown, J. Deusler, and F. Revnolds were at all relevant times herein Correctional
Sergeants at Marcy CF.

7, Anzalone, Brown, Reynolds, and Deusler are closely associated and have onaoing personal
friendships with each other. They are actively enoaged in each other's personal and professional
lives both inside and outside of the work environment. They share political and reliqious
beliefs, social]. hackarounds, mannerisms, Linguistic patterns, and they have a violent hatred of

sex offenders and LGRTOI+ peovole. Anv interaction with one

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group as an interaction with all of them in the same manner as a clique or aandq.

8, This action arises under and is brought pursuant to 42 0.S.C. §19°3 to remedy deprivations,
under color cf state law, of rights quaranteed by the United States Constitution. This Court has
jurisdiction over this action pursuant to 28 U.S.C. §1331,

9, Mv claims for relief are authorized by 28 11.5.C, §§ 2283 and 2284, and by Rule 65 of the
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ederal Rules of Civil Procedure,

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19, This Cause of Action arose in the Northern District of New York and as such, venue is proper
under 28 U.S.C. §1391(hb).
11, This Court has Supplemental Jurisdiction aver New York State Tort Law claims pursuant to the
relevant sections of 42 and 28 U,s.c,
TIT. Previous Lawsuits
12. T have filed no other lawsuits dealina with the same facts involved in this action,
IV. Exhaustion of Administrative Remedies

13. According to Department of Corrections and Community Sunervision ("NOCCS") Nirective 4040, T
timely filed a Grievance regarding the events complained of herein. I apnealed to the Central
Office Review Committee ("CORC") who denied said arievance by failing to render a determination
after 30 days of being in possession of it. A conv of the Grievance and Apneal was attached as an
exhibit to the original complaint in the instant matter. IT also filed a revort with the Office of

pecial Investivations ("057%) which is tantamourt to filina a Grievance, Since the determination

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of an OST investigation has no appeal rrocess, that administrative remedy must alsa he considered
exhausted for purvoses of the Prison Litiqation Reform Act ("PLRA").

V. Statement of Claim
14, I reallege and reincorporate by reference paracraphs 1 through 13 herein, as well as all
paners that T sent to this Covrt with the oricinal complaint
15, At all relevant times herein, Nefendants were "nersons" for purposes of 42 .5,.C. §1982 and
acted under color of law to deprive me of my Constitutional Rights, as well as acting in
violation of New York State Tort Law to iniure me and to attempt to injure me, as set forth more
fullv below.

Statement of Facts

16. On or about the first part of January, 2021, IT was transferred from Five Points CF to Marcv
CF and assianed to the J1 Recention Dorm Housing Jnit ("J1").
17, On or about January 27, 2021, T was called to the Marcy Package Raom where Defendant Anzalone
called me a "fagqot" and threatened that "{Tl better hope [hel doesn't see [me] out there."
18, Immediately upon returning to Jl, T called OST via the incarcerated individual ("i/i") phone
system to report Anzalone's sexual harassment and threat of violence against me. I did not know
his name at that time and T identified him by description.
19. On or about January 28, 2021, I was reassiqned to D1, Immedietely upon entering Dl, I was
approached by i/i Jonny Reed, an active member of the Rloads Gang, He informed me that because T
was a "Ravo," T would be required to do dishes and cleanina work for the gana and that if T
refused, T would be assaulted,
20, On or ahout February 3, 2021, I wes interviewed by Sergeant Gade who advised me that he had
heen assiqned by OST to investigate my complaint and had snoken with the officer T descrihed in
sajd report. He stated that "some things were said [hy Anzalone] that probly shouldn'tah heen
said" but as long as Anzalone had not done anything further to me, the case would he closed. T

agreed with his Gisposition hecause Anzalone had not at that point harassed or threatened me

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further,

21, On or about February 6, 2021, IT was assaulted and beaten by i/i's Reed, and fellow Rlooad
member Maaliave Milord, hecause TI had refused to do their dishes and other cleaning chores as an
ongoing rite of enslavement as penance for heing a sex offender - or, a "Rano" in their words.
22. Immediately following that agsault, T advised the dorm officer that TI had heen attacked and
needed to he moved off of that unit. He called an emergency, and several security officers led by
Defendant Deusler arrived at D1 and escorted me to the infirmary by van. During this transport,
the officers in the van verbally assaulted me by calling me a "nasty Rapo" and telling me that
they, to9, would have forced me to do their dishes. At some noint very shortly thereafter,
Meusler shared the details of the incident with his groun of friends as described in 47 above.
23, When T arrived at the infirmary, Defendant Reynolds wes present. He ordered me to go into an
examination room and strip down to my boxers, He photographed my iniuries and then left the room,

alling out "Hey Nick! We got your Friend up here!" (It is of critical imvoortance to note that

tote

this is the reason IT used the name "Nick Doe" in the original complaint. Reynolds making that
comment was the reason TIT knew his first name.) Defendant Anzalone then entered the room and
exclaimed to me, "Hi, Friend! It's vrobly not a good idea to tell on staff, now is it?!" T
replied to him that T was scared of him, and he stated that "[T] should be." He made a cauick,
false mevement to make me think he was going to hit me. I flinched, then he laughed and left the
room,

24, Tmmediately thereafter, I was assigned hack to Jl,

25. On or about February 10, 2021, I attended a disciplinary hearing. I exnlained to the

disciplinary lieutenant the events that occurred prior to and during the attack on me in Dl, a

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well as the fact that IT am prone to being harassed, assaulted, bullied, beaten, and extorted by
other i/i'ts due to my charge of conviction, appearance, age, failing health, and Pansexual
orientation, He advised me that he would order a Hold on me in 71 for my safety,

26. On or ahout February 27, 2021, T was reassianed to H2 desnite the aforementioned Hold order.
27, On two accasions between February 27 and March 11, 2021, Defendant Rrown entered H2 on the

evening shift and observed me cleaning the bathroom area, Roth times, he said to me, "Hey Friend!

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Now that's what T like to see!" The first time this havnened TI thought it was co idental but on
the second occasion TIT realized that his use of the word "Friend" was meant to indicate to me that
he was vart of a clique with Anzalone, and that his intention was for other i/i's to hear him
call me his "Friend" and be assaulted and beaten again. (In prison, an i/i who is a friend of an
officer is knowm as a "rat" ard subject to vigilante violence.) As a result of this behavior, I
began to fear for my safety and TIT knew that Brown was conspiring with Reynolds and Anzalone to
actively put me in situations in which I would be hurt or killed by other i/i's.

28. On or about March I1, 2921, 1 was again reassigned. this time to F2, a federally funded

Residential Substance Abuse and Treatment ("RSAT") dorm,

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29. After arriving on F2 that day, 5 was apptoached by an unidentified ck ifi wno gave me a

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handwritten note ("a kite") stating that he wanted iv have sex with we. After T tad read ii, the
i/i ordered me to destroy it because it was violative of the Prison Rape Elimination Act
("PREA"), T did not do so because I was afraid he wouldn't take "no" for an answer and wanted to
have evidence if T needed it.

802 On or. about. March 125° 2021, “iust prior to the: lunch, chow -run;. the: sauthor: of the Peis
approached me in the hathroom area and exposed his venis to me, I told him that I did not want
anything to do with him and left the hathroom area. I immediately wrote a handwritten letter to
Deferdant Fenton in which T stated that T had been annroached for sex, feared for my safety, and
wanted to he moved out of F2. T gave him the letter, and the kite as evidence,

31. Approximately one hour later, Fenton told me that he had contacted movement and control and
that IT would be moved off of F2 that day.

32. No such move was made, and IT remained on F2. The only vlausible exnlanation for this is that
Defendants Rennett and/or Fountain must have refused to approve my beinad moved from F2. Unon
information and helief, this was hecause someone from the retaliation consniracy adrouv (47) had
informed them of the retaliation effort and called in a favor with them with respect to me, When
Fenton realized that T was not moved, his responsibility in the matter did not end. He snould
have contacted Lieutenant McGuire, who was a superior officer in charge of Housing. He did not du
so.

33. On or ahovt 19:05PM that same day, I was avproached by i/i Johnson. He told me that I would
be reauired to do the dishes and other cleanina chores cf the Bloods because I was a "Ravo." T
told him that T would do cleaning work for pay, but not for free. He stated that "niaqgas ain't
tryna hear that." TI walked away from him and entered the natnroom atea. I went into the first
stall (which had no door) and smoked a cigarette while chatting with another i/i of Puerto Rican
descent, While I was smoking, Johnson attacked and savagely beat me in the head and upper body
area. I was unable to defend myself and hegan bleeding profusely from the mouth and nose as a
result of the attack. IT did not realize it right away, but Johnson had hroken my jaw,

34, after attacking me, Johnson left the hathroom, I was still bleeding a lot and tried to clean
myself un. IT then rernorted to F2 Officer Roles that T was injured and needed emeraencv medical
assistance. Roles called a "Red Dot" emergency on the radio.

35. Defendant Reynolds arrived at F2 shortly thereafter with a security squad. He took me out
into the dorm entry area and questioned me about who had attacked me. I started to explain to him
that = did not snow vonnson’s name or cube number and that I wanted Reynolds to escort me hack
into the Gotm sv T Couid point out the i/i in question, but he cut me off before I could finish.
He called me a liar and told me that they would just "bring [me] right back there to get [myj ass
kicked again."

36. T was escorted to the infirmary bv van. The officers in the van told me "if [TT] wasn't so
soft, [they would] beat [my] ass too." Upon arrival at the infirmary, I complained to a short,

Black nurse that I thought my jaw was broken. She replied only, "well, let's hope not." She did

not ask me any questions, examine me, or treat me for my injury in any wav. I was photooraphed by
Revnolds before leavina.

37, Immediately after that, I was driven by van back to D1 by order of Reynolds. In tne van, the
officers told me they honed that the i/i'ts in D1 would "cut mv head off,"

38, On or abont March 14, 2021, at 8:19PM, Defendant Rrown sntered D1 accompanied by Reynolds and
Deusler. Rrown aave the order for Count.

39, After all the i/i's had returned to their cubes, were standing at the entries thereto, and
were silent, Rrown walked up ta my cuhe, He stopped in front of me and faced towards me, and made
the followina speech in a loud voice so that everyone in the dorm could hear him: "Hi, Friend!
How are you doing today? Great! Hey everybody, TI want you aj1l to know that my Friend here is
really good at doing dishes! So, if any of you here need to have vour dishes done, bring them to
mv Friend here because he's qot that special Palmolive Hand!"

40, Most, if not all of the i/i's in Dl were nresent when T had previously been assat

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refusing to do free dishes as "rano penance." They knew from this speech very clearly that it was
Rrown's intent for Lnem to hurt or kill me, After Brown, Reynolds, and Neusler left Dl, Defendant
Stockton exclaimed to me, "What the FUCK did you do to piss Rrown off?!" He should have reported
Rrown's unlawful conduct. He should have revorted that two Sergeants with Rrown stoad bv and
allowed it to hanpen. He did neither. Several i/i's made deroaatory comments to me and stated
that Rrown must want them to "beat mv ass."

41. On or about March 15, 2021 and in the morning, T was moved hack to F2 just as Reynolds stated
that I would be, Unon information and belief, no investigation was done to determine who mv
attacker was or if he still resided on F2. (He did.) I remained in my cube for the entire day
because IT was in fear for my life from Johnson. T was so scared, in fact, that I only went to the
bathroom when I knew Johnson was gone. I did not qo to meals for fear of heing near him. I wrote
letters to the disciplinarv lieutenant and to Captain Valenzano vleading for help to protect my
safetv.

42. On or about March 16, 2021, T was called to meet with Lt. Schwehe and CO Fdge. Roth were very
kind and understood what had been going on. They qave me the option af siqnina into Voluntary

Protective Custody ("vPpc") or moving to F2, a Gorm they felt sure IT would be safe in. IT advised

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that I wanted to go te F2 because I trusted their opinion and did not want to have to live in PC
unless it was absolutely necessary, T also told them that I had been putting in sick call slins
because TI believed my iaw was broken, and T told them wha Johnson was by aiving them his cube
number and stated that IT wanted to press charges against him for a hate crime if it turned out
that mv jaw was in fact broken,

42, Tmmediately after that meeting, I was moved to F2 where T successfully intearated into
population without issue,

44. On or about March 18, 2021, T was seen at the infirmary and complained again of a broken jaw.

The following day, I was transported to MidState CF and xrays were done. After returnino to

Marcy, the nurse told me that the xray showed a break and TIT would he scheduled to see

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doctor, T went hack ta my dorm, but then was immediately called back to medical. I was told that

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the iniurv was ton serivus to wait to schedule an annointment and that T would he immediately
hrought to the emergency room. Wnon aqoindg to the emeraency room, I was told that T needed
surgery. I returned to Marcy, and then on or about March 23, 2021, T was advised by medical that
surgery had heen scheduled in a "couple of days."

45, After returning to F2 from medical, TI was called to the Serqeant's office by Nefendant
Fountain, On the wav there while waiting to he pat-frisked, Defendant Anzalone asked me if
everyone in F2 was leaving me alone, IT renlied that they were and T was fine. He stated to me
"well, we'll have to see what we can co tn change thst for you!" He laughed at me and left hefore
T went into the Sergeant's room.

46. During the meeting with Fountain, Nefendant Rennett was also present as was Sergeant Tromhiv,
Fountain auestioned me about the identitv of my attacker in F2 after tellino me that Tit. Schwehe
had asked him to take a report from me for the purpose of pressing charges aqainst Johnson. T
made positive identification of Johnson and provided a statement about the attack. AFter that
meeting, i wds toid tu gu wack to E2 which I did. Immediately vpon returrina to F2, however, T
was called right back to the Sergeant's office. When I got back, I was told that T was being
admitted into Involuntary Protective Custody ("Ipc"). T was handcuffed and escorted to the Sai by
Truly .

47, Thereafter, T tesicGed in SAU until mv first surgery and subsecuent transfer out of Marcy. I
filed the Grievance about Lieése issues wnile inere. I was interviewed for the Grievance by Deputv
Superintendent for Security Snyder; T told him that evervone in DJ] had witnessed Serqeant Brown's

peech attempt to have me hurt or killed. Nespite that, Snyder refused to interview any of them

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pecause T could not identify them by name,
48, Since that time, I have had two teeth remaved and then a second surgery on my jaw as a result
of Johnson's attack which was the result of Fenton's deliherate indifference,

V. Statement of Constitutional Violations

All of the Defendants have committed Cruel and Unusual Punishments against me. Nick Anzalone

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began a campaign of retaliation against me for reporting his unlawful hehavior to OST. He engaced
the ather Defendants in a Conspiracy to retaliate and commit Cruel and Unusual Punishments
against me by either directly attempting to have me hurt or killed, harassing and threatening me,
or deliberately failing to protect me. This is evidenced, in vart, by the consistent use of the
word "Friend" hetween multiple Defendants. Defendant Deusler mav have done the very least, but he
still stood by (as did Reynolds) as Brown engaged in a sneech directed towards a fi11 dorm of
i/i's with the intent to have me murdered and he did not report those actions. Reynolds, Brown,
and Anzalone conspired together to keen tabs on the dangerous things that were hannenina to me
and made intentional efforts to exacerbate them and also directly place me in situations in which
T would be hurt or killed. Fenton was deliberately indifferent to my safety by failing to contact
Housing Lieutenant McCuire when he realized that Fountain and Bennett were nat qoing to move me,

Even though the problem he was aware of was a sexual threat of rane, his deliberate indifference

to that threat led directly to my enduring a brutal assault hy a gana member which resulted ina
broken jaw. That injury caused me to need two surgeries in my iaw and lose two teeth in the
process. While Rennett and Fountain may have only “been "doina favors" for the retaliation
conspiracy aroup (97), their actions - at the verv least in refusing to move me from F2 - led
directly to my iniurv. All of the Defendants caused me to experience intense psychological nain,
fear for mv life, have suicidal thoughts, and wish T was dead,

VI, SUPPLEME'TAL STATE TORT CLAIMS

Negligence, Intentional ‘Tnfliction of Fmotional Pain, Harassment, Libel, and Defamation of

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Character against all Defendants whom these would annly to, Would the Court allow me to do soa, I
would also use this action to prosecute i/i's Reed, Milord, and Johnson for the State Torts of
Assault and Ratteryv leading to serious injury.
VIT. Relief Recuested

Declaratory Relief: T seek a decree that the rights to Equal Protection of Law, to he free from
Cruel and Wnusual Punishment, the New York State Constitutional Right to a Healthful Environment
the State Corrections Law regarding the Riaght to be free from Neaqrading Living Conditions, and
any other applicable Constitutional right, or state ar federal law, in totality, create the
absolute rioht for i/i's who are convicted of SORA offenses or are LGRTOi+ to he haused
separately, upon indication of their desire for such, than general vonulation withouUT enduring
the excruciating hardshins associated with Protective Custody, We are due the same considerations
and privileaes as "general convictees" in addition to a heidhtened level of protection and care
Aye to our charaes, sexual orientation, or hoth,

Iniunctive Relief: Terminating and barring from amployment all of the Defendants via Nishonorable
Discharae, and forfeitina any state pension te qo towards the cost of implementing the
declaratory relief sought, An order forcing Noccs to implement an opt-in living situation as
described in the declaratorv relief for all SORA-convicted and LGRTQi+ i/i's. as their default
and de facto placement immediately unon entering noccSs custody, This includes deferrinda anyone
who fits that description from standard "reception" procedures directly there, The onlv excention
is if they choose to opt-out which may he done after the initial placemert therein through the

local housing lieuterants, This is to be done at all facilities - medium, max, and women's

Comnensatory Damages: $2,500,000.00 (Two and half million dollars) against all defendants, in
total.
Punitive Damages: $250,000.00 each against Nick Anzalone and Mr. Rrown for a total of

$500,000 00,
The total monetary relief soudht is thus three million dollars.

The foreqoina requested relief is for the puroose of makina me whole from a physical and
psychological perspective. Tt is also to shock the State of New York into realizing that these
practices must stop. Finally, it is to prevent and deter any similarly heinous acts from

hapnening to ANY incarcerated nerson ever again.

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T PECLARE UNDER PENALTY OF PRERIJURY THAT THE FOREGOING

KNOWLEDGE EXCEPT AS TO MATTERS STATED TO RE TRUF UPON INFORMATION AND RELIEF AND

MATTERS, 1 REUTEVE THEM TO RE TRIE.

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TS TRUE AND CORRECT TO THE REST OF MY

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Michael aniiehaan RBalentine
Plaintiff, Pro Se

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